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UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
RAX ARCHER,
Plaintiff,
v. Case No. 3:18-cv-324-J-39JRK

NAVIENT SOLUTIONS, LLC,

Defendant.
f

ORDER OF DISMISSAL

This matter is before the Court on the Joint Stipulation of Dismissal Without
| Prejudice (Doc. No.14; Stipulation) filed on August 28, 2018. In the Stipulation, the parties
state that they agree to the dismissal of this case without prejudice. See Stipulation at 1.
Accordingly, it is hereby

ORDERED:

1. This case is DISMISSED without prejudice.

2. Each party shall bear its own costs and fees.

3. The Clerk of the Court is directed to terminate all pending motions and close
the file.

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DONE and ORDERED in Jacksonville, Florida this 23 day of August, 2018.

A. Ohd.

BRIAN J. DAVIS
United States District Judge
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cs
Copies ‘to:

Counsel of Record
